    Case 18-14603-MBK          Doc 155     Filed 05/11/18 Entered 05/11/18 15:35:36               Desc Main
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     UNITED STATES BANKRUPTCY COURT
     FOR THE DISTRICT OF NEW JERSEY
     SILLS CUMMIS & GROSS P.C.
     Valerie A. Hamilton, Esq.                                                   Order Filed on May 11, 2018
     vhamilton@sillscummis.com                                                             by Clerk
                                                                                   U.S. Bankruptcy Court
     George R. Hirsch, Esq.                                                        District of New Jersey
     ghirsch@sillscummis.com
     600 College Road East
     Princeton, New Jersey 08540
     Tel.: (609) 227-4600
     Fax: (609) 227-4646
     Proposed Attorneys for the Debtors and
     Debtors-In-Possession

     In re:                                                Hon. Michael B. Kaplan

     PRINCETON ALTERNATIVE INCOME                          Lead Case No. 18-14603 (MBK)
     FUND, LP, et al.,                                     (Jointly Administered)

          Debtors-In-Possession.                           Chapter 11


               ORDER GRANTING DEBTORS’ MOTION FOR ENTRY OF AN ORDER
              AUTHORIZING THE PAYMENT OF CERTAIN PREPETITION CLAIMS OF
                 CRITICAL VENDORS ASSOCIATED WITH JAMS ARBITRATION


               The relief set forth on the following pages, numbered two (2) through three (3), is hereby

     ORDERED.




DATED: May 11, 2018
Case 18-14603-MBK           Doc 155      Filed 05/11/18 Entered 05/11/18 15:35:36                 Desc Main
                                        Document      Page 2 of 2
 Debtor: In re Princeton Alternative Funding, LLC, Case No. 18-14600 (MBK)
 Debtor: In re Princeton Alternative Income Fund, LP, Case No. 18-14603 (MBK)
 Order Granting Debtors’ Motion for Entry of an Order Authorizing the Payment of Certain Prepetition Claims of
 Critical Vendors Associated with JAMS Arbitration


         THIS MATTER having come before the Court upon the motion (“Motion”) by the above-

 captioned debtors and debtors-in-possession (the “Debtors”), for the entry of an order authorizing

 the payment of certain pre-pettion claims of critical vendors associated with the pending JAMS

 Arbitration; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b);

 and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and the Court having

 considered the Motion, the responses thereto, if any, and any reply; and the Court having held a

                          May 2
 hearing on the Motion on ________________, 2018 (the “Hearing”) to consider the relief

 requested in the Motion and the responses thereto; and it appearing that the relief requested is in

 the best interests of the Debtors, their estates, their creditors and equity holders and all other

 parties in interest; and it appearing that proper and adequate notice of the Motion has been given

 and that no other or further notice is necessary; and after due deliberation and sufficient caue

 appearing therefor;

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED in its entirety.

         2.      The Debtors are authorized, but not directed, in their sole discretion and in the

 reasonable exercise of their business judgment, to pay the pre-petition claims of Pepper Hamilton

 LLP and JAMS as critical vendors of the Debtors.

         3.      Notwithstanding the applicability of Bankruptcy Rule 6004(b), the terms and

 conditions of this Order shall be immediately effective and enforceable upon its entry.

         4.      This Court shall retain jurisdiction over all matters relating to the interpretation

 and implementation of this Order.




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